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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


ARDELYX, INC., et al.,

              Plaintiffs,

       v.
                                                     Civil Action No. 24-2095 (BAH)
XAVIER BECERRA,
Secretary of Health and Human Services, et al.,

              Defendant.




 MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION FOR A PRELIMINARY
INJUNCTION OR, IN THE ALTERNATIVE, FOR EXPEDITED SUMMARY JUDGMENT
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                                       INTRODUCTION

       Plaintiffs seek to enjoin the Secretary from including the drug XPHOZAH in the End-Stage

Renal Disease Prospective Payment System bundle, under which Medicare pays for “renal dialysis

services” via a single payment to End-Stage Renal Disease facilities. Because the Medicare statute

expressly precludes “administrative or judicial review” of “the identification of renal dialysis

services included in the bundled payment,” 42 U.S.C. § 1395rr(b)(14)(G), this Court should not

address Plaintiffs’ preliminary injunction motion (“PI Mot.,” ECF No. 14) at all, as explained in

Defendants’ pending Motion to Dismiss (ECF No. 11). If the Court does rule on Plaintiffs’ motion,

it should deny preliminary injunctive relief for any of several independent reasons: Plaintiffs have

shown no likelihood of imminent harm, much less irreparable harm; Plaintiffs’ decision not to

apply for the Transitional Drug Add-on Payment Adjustment for XPHOZAH renders even their

speculative economic harm self-inflicted; Plaintiffs are unlikely to succeed on the merits because

Congress has acknowledged and approved the regulations they purport to challenge and the

relevant regulations are consistent with the statute; and the balance of the equities and the public

interest favor the government.

                                        BACKGROUND

I.     The Medicare Program and Coverage for End-Stage Renal Disease.

       Medicare is a federal health insurance program for the elderly and disabled, see 42 U.S.C.

§ 1395, et seq., and the Secretary administers the Medicare program through the Centers for

Medicare & Medicaid Services (“CMS”). The Medicare program generally provides benefits via

four parts: Part A, hospital insurance; Part B, medical insurance covering physician and other

outpatient health care services, including renal dialysis; Part C, privately administered Medicare

managed care plans; and Part D, which provides subsidized outpatient prescription drug coverage

for enrollees. See 42 U.S.C. §§ 1395d(a); 1395o; 1395w-21; 1395w-101. Since 1973, Medicare
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has provided health insurance coverage for people suffering from End-Stage Renal Disease who

need either dialysis or kidney transplantation to maintain life. Pub. L. 92-603, § 299I, 86 Stat.

1463-64; see also 42 U.S.C. § 426-1; see generally Medicare.gov, End-Stage Renal Disease,

available at https://www.medicare.gov/basics/end-stage-renal-disease. Under the original law,

Medicare paid for dialysis services on a cost basis with an upper limit per treatment, meaning that

Medicare paid the reasonable costs incurred by a provider up to a statutory limit.

       During the 1980s, in part to control costs, Congress began moving away from reasonable

cost reimbursement towards prospective payment systems for many aspects of the Medicare

program. Under a prospective payment system, payment is determined in advance based on a

formula that can include a patient’s diagnosis, geographic wage factors, and other considerations.

For example, under the inpatient prospective payment system, a hospital is paid “a fixed rate for

treating each Medicare patient, based on the patient’s diagnosis and regardless of the hospital’s

actual costs.” Becerra v. Empire Health Found., 597 U.S. 424, 429 (2022) (citing 42 U.S.C.

§ 1395ww(d)(1)-(4)). Prospective payment is designed to reflect what efficiently run providers or

suppliers would expend to treat a patient with a certain diagnosis; it provides an incentive to

provide efficient medical service.    Most prospective payment systems include adjustments

incorporating various factors that might make a patient’s treatment more expensive than the

formula predicts.

       As part of the Omnibus Budget Reconciliation Act of 1981, Congress instructed the

Secretary to “provide by regulation for a method (or methods) for determining prospectively the

amounts of payments to be made for dialysis services furnished by providers of services and renal

dialysis facilities to individuals in a facility and to such individuals at home.” Pub L. 97-35

§ 2145(a)(7), 95 Stat. 800; see 42 U.S.C. § 1395rr(b)(7). This system, despite determining




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payment amounts for certain dialysis-related items and services prospectively, did not establish a

single bundled rate for renal dialysis services, meaning providers and End-Stage Renal Disease

facilities were not paid a fixed rate per patient. In the Medicare Prescription Drug, Improvement,

and Modernization Act of 2003, however, Congress mandated a bundled rate for certain renal

dialysis services: “[B]eginning with services furnished on January 1, 2005, the Secretary shall

establish a . . . prospective payment system for dialysis services furnished by providers of services

and renal dialysis facilities[.]” Pub. L. 108-173, 117 Stat. 2313; see 42 U.S.C. § 1395rr(b)(12).

The bundled payment established in 2003 did not include, among other things, certain drugs

commonly used to treat anemia and vitamin D deficiency, which Medicare paid for separately on

a fee-for-service or reasonable cost basis. See 75 Fed. Reg. 49,030, 49,032 (Aug. 12, 2010).

       Congress later expanded the items and services included in the End-Stage Renal Disease

bundle in the Medicare Improvements for Patients and Providers Act of 2008 (“Medicare

Improvement Act”), including specifically instructing the agency to include erythropoiesis

stimulating agents (a common treatment for anemia caused by severe kidney disease) and drugs

and biological products that treat End-Stage Renal Disease: “[F]or services furnished on or after

January 1, 2011, the Secretary shall implement a payment system under which a single payment

is made under this title to a provider of services or a renal dialysis facility for renal dialysis

services.” Pub. L. 110-275, 122 Stat. 2553; see 42 U.S.C. § 1395rr(b)(14). Congress defined the

term “renal dialysis services” to include:

       (i)     items and services included in the composite rate for renal dialysis services
               as of December 31, 2010;

       (ii)    erythropoiesis stimulating agents and any oral form of such agents that are
               furnished to individuals for the treatment of end stage renal disease;

       (iii)   other drugs and biologicals that are furnished to individuals for the
               treatment of end stage renal disease and for which payment was (before the



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               application of this paragraph) made separately under this subchapter, and
               any oral equivalent form of such drug or biological; and

       (iv)    diagnostic laboratory tests and other items and services not described in
               clause (i) that are furnished to individuals for the treatment of end stage
               renal disease.

42 U.S.C. § 1395rr(b)(14)(B). Congress specifically stated that the term “renal dialysis services

. . . does not include vaccines.” Id. It also expressly excluded certain actions by the agency from

“administrative or judicial review,” including, as relevant here, “the identification of renal dialysis

services included in the bundled payment.” 42 U.S.C. § 1395rr(b)(14)(G).

II.    Implementation of the Medicare Improvement Act.

       CMS promulgated via notice-and-comment several final rules implementing Congress’s

directive to establish a bundled payment system for renal dialysis services. In its first final rule

implementing the Medicare Improvement Act, CMS observed that Congress’s definition of renal

dialysis services “viewed as a whole . . . suggests a comprehensive definition that wraps in all

items and services related to outpatient renal dialysis that are furnished to individuals for the

treatment of” End-Stage Renal Disease. 75 Fed. Reg. 49,030, 49,040 (Aug. 12, 2010). As part of

its development of the final rule, the agency “performed an extensive analysis of Medicare

payments for Part B drugs and biologicals billed on [End-Stage Renal Disease] claims in 2007,

2008, and 2009 to identify drugs or biologicals that are [End-Stage Renal Disease]-related and

therefore met the definition of renal dialysis services” under section 1395rr(b)(14)(B). 75 Fed.

Reg. at 49,047. CMS categorized drugs and biological products “on the basis of drug action . . .

to determine which categories (and therefore, drugs and biologicals within the categories) would

be” End-Stage Renal Disease-related. Id. Based on its analysis, CMS determined that certain

“functional categories” were not End-Stage Renal Disease-related (even if they were frequently




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administered to beneficiaries suffering from chronic kidney disease) and therefore excluded them

from the bundled base rate. Id at 49,048-49.

       The agency also determined that several drug categories should be classified as renal

dialysis services, including the “[b]one and mineral metabolism” category, which CMS described

as “[d]rugs used to prevent/treat bone disease secondary to dialysis.”               Id. at 49,050.

“Recogniz[ing] that drugs and biologicals used for [End-Stage Renal Disease]-related conditions

may change over time based on many factors including new developments,” CMS stated that its

categorization “based on mechanism of action” would allow it to “account for other drugs and

biologicals that may be used for those actions in the future under the” End-Stage Renal Disease

Prospective Payment System. The agency listed specific drugs in an appendix to the final rule and

clarified that “any drug or biological furnished for the purpose . . . of bone and mineral metabolism

will be considered renal dialysis services under the” End-Stage Renal Disease Prospective

Payment System. Id.

       The agency later codified in regulation the drug designation process as applied to new

injectable and intravenous products. See 42 C.F.R. § 413.234; 80 Fed. Reg. 68,968, 69,013-24

(Nov. 6, 2015). CMS subsequently modified the regulation to reflect that the drug designation

process applies to all new renal dialysis drugs and biological products. See 83 Fed. Reg. 56,922,

56,927-32 (Nov. 14, 2018). For new products, “[i]f the new renal dialysis drug or biological

process is used to treat or manage a condition for which there is an [End-Stage Renal Disease

Prospective Payment System] functional category, the new renal dialysis drug is considered

included” in the bundled payment. 42 C.F.R. § 413.234(b)(1). Under this policy, End-Stage Renal

Disease facilities would not receive a separate payment for administering an injectable drug that

is related to the treatment of End-Stage Renal Disease; instead, payment for the drug would be




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covered as part of the single bundled payment for performing dialysis. Similarly, under the End-

Stage Renal Disease Prospective Payment System as designed, for End-Stage Renal Disease-

related “oral-only” drugs—that is, drugs without an injectable equivalent—payment would be

unavailable under Medicare Part D, and the End-Stage Renal Disease bundled payment to the End-

Stage Renal Disease facility would therefore cover dispensing of the drug through either an in-

house or contracted pharmacy.

       CMS decided to delay inclusion of oral drugs with no injectable equivalent in the End-

Stage Renal Disease bundle until January 1, 2014, three years after the effective date of the rest of

the payment bundle. 75 Fed. Reg. at 49,044; see 42 C.F.R. § 413.171(3) (renal dialysis services

includes “drugs and biologicals with only an oral form”) & 42 C.F.R. § 413.174(f)(6) (2010)

(“Effective January 1, 2014, payment to an [End-Stage Renal Disease] facility for renal dialysis

service drugs and biologicals with only an oral form furnished to [End-Stage Renal Disease]

patients is incorporated within the prospective payment system rates established by CMS in

§ 413.230 and separate payment will no longer be provided”).1 This delay was meant to allow

End-Stage Renal Disease facilities to prepare for dispensing non-injectable drugs that would be

included in their bundled payments. The agency explained that the delay “would provide sufficient

time for [End-Stage Renal Disease] facilities to establish a pharmacy in accordance with state

licensure requirements, or establish arrangements with pharmacies to provide oral-only drugs to

their patients,” id. at 49,043, and “provide additional time to evaluate the need for additional

clinical indicators applicable to the monitoring of certain patient conditions associated with oral-

only drugs,” id. at 49,044.



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        After Congress further delayed implementation of the oral-only drugs policy, CMS
modified its regulations to reflect the later effective dates. The provision currently begins
“[e]ffective January 1, 2025.” 42 C.F.R. § 413.174(f)(6).


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       Since the agency promulgated its final rule in 2010, Congress has further legislated on the

issue of the End-Stage Renal Disease Prospective Payment System bundle and the timing of its

implementation. The American Taxpayer Relief Act of 2012 instructed the Secretary to reduce

the End-Stage Renal Disease prospective payment amount “to reflect the Secretary’s estimate of

the change in the utilization of drugs and biologicals described in clauses (ii), (iii), and (iv) of

[42 U.S.C. § 1395rr(b)(14)(B)] (other than oral-only End-Stage Renal Disease-related drugs, as

such term is used in the final rule promulgated by the Secretary in the Federal Register on August

12, 2010 (75 Fed. Reg. 49,030).” Pub. L. 112-240, 126 Stat. 2354. An adjacent provision delayed

the inclusion of “oral-only [End-Stage Renal Disease]-related drugs in the [End-Stage Renal

Disease] prospective payment system” until January 1, 2016.

       The 2014 Protecting Access to Medicare Act further delayed inclusion of oral-only End-

Stage Renal Disease-related drugs in the bundle until January 1, 2024. Pub. L. 113-93, § 217, 128

Stat. 1061. Later that same year, Congress added another year to the delay. Pub. L. 113-295,

§ 204, 128 Stat. 4065. Oral-only drugs will therefore become part of the End-Stage Renal Disease

bundled payment effective January 1, 2025. Separate Medicare payment under the Part D program

for outpatient drugs will then no longer be available for End-Stage Renal Disease-related drugs

that are part of the End-Stage Renal Disease payment bundle. In a recent proposed rule, CMS

explained that “incorporating Medicare Part D drugs into the [End-Stage Renal Disease

Prospective Payment System] has had a significant positive effect of expanding access to such

drugs for beneficiaries who do not have Medicare Part D coverage, with significant positive health

equity impacts.” 89 Fed. Reg. 55,760, 55,797 (July 5, 2024). “We anticipate that the incorporation

of oral-only drugs into the [End-Stage Renal Disease Prospective Payment System] will increase

access to those drugs for beneficiaries.” Id.




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III.    Transitional Drug Add-On Payment Adjustments.

        The End-Stage Renal Disease Prospective Payment System statute, 42 U.S.C.

§ 1395rr(b)(14)(D), and regulations include several provisions providing for adjustments to the

base rate (i.e., the prospectively determined rate for furnishing renal dialysis services) to End-

Stage Renal Disease facilities in designated circumstances. For example, the “outliers” provisions

at 42 C.F.R. § 413.237 are designed to “protect an [End-Stage Renal Disease] facility from

significant financial losses due to unusually high costs.” CMS.gov, End-Stage Renal Disease PPS

Outlier Services, available at https://www.cms.gov/medicare/payment/prospective-payment-

systems/end-stage-renal-disease-esrd/esrd-pps-outlier-services. Adjustments to the base rate are

also available for other circumstances, including for low-volume facilities, 42 C.F.R. § 413.232,

rural facilities, id. § 413.233, and for treating patients with “characteristics that result in higher

costs for” End-Stage Renal Disease facilities. Id. § 413.235.

        Recognizing the value of supporting “high-value innovation” and giving practitioners “the

ability to evaluate the appropriate use of a new product and its effect on patient outcomes,” 84 Fed.

Reg. 60,648, 60,654 (Nov. 8, 2019), CMS has also established an End-Stage Renal Disease

Prospective Payment System add-on payment adjustment for certain transitional drugs, meaning

that a facility administering a drug covered by the policy can receive extra Medicare funds for

using that drug in its treatment of a dialysis patient. See 42 C.F.R. § 413.234. The payment

adjustment is available for certain commercially available drugs “used to treat or manage a

condition(s) associated with” End-Stage Renal Disease that were approved by the FDA after

January 1, 2020. See 42 C.F.R. § 413.234(a). As applied to drugs within an existing functional

category, this add-on is meant “to help [End-Stage Renal Disease] facilities to incorporate new

drug and biological products and make appropriate changes in their businesses to adopt such

products; provide additional payment for such associated costs, [and] promote competition among


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drugs and biological products within the [ End-Stage Renal Disease Prospective Payment System]

functional categories.” 84 Fed. Reg. at 60,654.

       Under this policy, an End-Stage Renal Disease facility treating a patient with a new renal

dialysis drug or biological product as defined at § 413.234(a) and not excluded by § 413.234(e)

that fits within one of the functional categories that CMS established in implementing the End-

Stage Renal Disease Prospective Payment System, such as the “bone and mineral metabolism”

category, can receive a Transitional Drug Add-on Payment Adjustment for two years.              Id.

§ 413.234(c)(1). Thereafter, a further post-transitional drug add-on payment adjustment is made

for an additional three years. Id. § 413.234(c)(3). Because the add-on payment adjustments are

based on a drug’s average sales price, id. § 413.234(c), the agency issued guidance directing

manufacturers how and when to provide the required data, and payment of both add-on payment

adjustments is conditional on the agency receiving such data.         See Pls. Ex. 2; 42 C.F.R.

§ 413.234(c), (c)(3).

IV.    Factual Background.

       Plaintiff Ardelyx, Inc. developed the drug XPHOZAH (tenapanor), which according to its

FDA label “is indicated to reduce serum phosphorus in adults with chronic kidney disease on

dialysis as add-on therapy in patients who have an inadequate response to phosphate binders or

who are intolerant of any dose of phosphate binder therapy.” Ex. A to Def’s Mot. to Dismiss

(XPHOZAH FDA Label). The FDA approved XPHOZAH in October 2023. Compl. ¶ 74.

Following FDA approval and in response to a request from Ardelyx to exclude its drug from the

End-Stage Renal Disease bundled payment, CMS determined that XPHOZAH, which the FDA

approved to treat patients “with chronic kidney disease on dialysis,” is a “renal dialysis service”

under 42 U.S.C. § 1395rr(b)(14)(B) and 42 C.F.R. § 413.171.




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        As the agency explained in its letter to the Chief Medical Officer of Ardelyx, XPHOZAH

“is used as an add-on therapy in patients with chronic kidney disease who are on dialysis who have

an inadequate response to phosphate binders or who are intolerant of any dose of phosphate binder

therapy.” Pls. Ex. 1. CMS further explained that XPHOZAH meets the “regulatory definition of

an oral-only drug at [42 C.F.R.] section 413.234(a),” meaning that it would be included in the End-

Stage Renal Disease Prospective Payment System bundled payment effective January 1, 2025. Id.

In the same letter, CMS described to Ardelyx the process to apply to include XPHOZAH in the

Transitional Drug Add-on Payment Adjustment and directed the company to agency guidance on

the issue.

        The agency reiterated its determination that XPHOZAH is a renal dialysis service in the

Calendar Year 2025 End-Stage Renal Disease Prospective Payment System proposed rule, stating

that “CMS has identified XPHOZAH to be a renal dialysis service because it is used to treat or

manage a condition associated with” End-Stage Renal Disease and that it “meets the current

regulatory definition of an oral-only drug as defined at § 413.234(a).” 89 Fed. Reg. at 55,796.

“Specifically, it is used as an add-on therapy in patients who have an inadequate response to

phosphate binders or who are intolerant of any dose of phosphate binder therapy.” Id. When it

first established the functional categories, CMS noted that phosphate binders were among the

drugs in the “bone and mineral metabolism” functional category. 74 Fed. Reg. at 49,929.

        On July 2, 2024, Ardelyx announced that it had decided against submitting an application

for XPHOZAH to receive the Transitional Drug Add-on Payment Adjustment. Ex. B to Def’s

Mot. to Dismiss (Ardelyx Form 8-K dated July 2, 2024).

V.      This Lawsuit and Plaintiffs’ Motion for Preliminary Injunctive Relief.

        Plaintiffs filed their Complaint on July 17, 2024. Compl. (ECF No. 1). Plaintiffs challenge

“CMS’s recent determination that XPHOZAH is a renal dialysis service, to be included in the


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[End-Stage Renal Disease] bundled payment as of January 1, 2025.” Id. ¶ 33. The complaint

identifies as the “final agency action” at issue CMS’s determination “in a letter decision issued on

May 13, 2024 that ‘CMS has identified XPHOZAH to be a renal dialysis service under 42 CFR

413.171’ and will be included in the [End-Stage Renal Disease Prospective Payment System]

bundled payment system effective January 1, 2025.” Id. ¶ 54 (quoting Pls. Ex. 1). Their three

claims for relief allege that the “May 13, 2024 determination that XPHOZAH is a ‘renal dialysis

service’ that shall be added to the bundled payment system as of January 1, 2025” violates the

Administrative Procedure Act and the Medicare statute, id. ¶¶ 202, 211, and challenge

“Defendants’ determination that any new oral-only drug is a ‘renal dialysis service’ . . . that shall

be added to the bundled payment system as of January 1, 2025,” id. ¶ 215. They seek declaratory

and injunctive relief stating that XPHOZAH is not a renal dialysis service and is not subject to

inclusion in the End-Stage Renal Disease Prospective Payment System bundle, vacating

Defendants’ determinations to the contrary, and enjoining Defendants from treating XPHOZAH

as a renal dialysis service or placing it into the bundled payment system. They also seek an order

vacating Defendants’ determinations that oral-only drugs can be “renal dialysis service[s]” subject

to inclusion in the bundle and enjoining Defendants from so treating oral-only drugs or placing

them into the bundled payment system.

       On September 17, Defendants filed a Motion to Dismiss Plaintiff’s Complaint for lack of

subject-matter jurisdiction under Federal Rule of Civil Procedure (“Rule”) 12(b)(1). Mot. Dismiss

(ECF No. 11). Two days later, Plaintiffs filed a Motion for a Preliminary Injunction or, in the

Alternative, for Expedited Summary Judgment. PI Mot. (ECF No. 14).

                                      LEGAL STANDARD

       A preliminary injunction is an “extraordinary remedy never awarded as of right.” Winter




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v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 24 (2008). “A plaintiff seeking a preliminary injunction

‘must establish that he is likely to succeed on the merits, that he is likely to suffer irreparable harm

in the absence of preliminary relief, that the balance of equities tips in his favor, and that an

injunction is in the public interest.’” Changji Esquel Textile Co. v. Raimondo, 40 F.4th 716, 721

(D.C. Cir. 2022) (quoting Winter, 555 U.S. at 20). The moving party bears the burden of

persuasion and must demonstrate, “by a clear showing,” that the requested relief is warranted.

Hospitality Staffing Sols., LLC v. Reyes, 736 F. Supp. 2d 192, 197 (D.D.C. 2010) (quoting

Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006)). The third

and fourth factors, balance of equities and the public interest, “merge when the Government is the

opposing party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

        Before the Supreme Court’s decision in Winter, courts weighed these factors on a “sliding

scale,” allowing “an unusually strong showing on one of the factors” to overcome a weaker

showing on another. Damus v. Nielsen, Civ. A. No. 18-0578 (JEB), 2018 WL 3232515, at *4

(D.D.C. July 2, 2018) (quoting Davis v. Pension Benefit Guar. Corp., 571 F.3d 1288, 1291-92

(D.C. Cir. 2009)).     The D.C. Circuit has suggested, without deciding, that Winter—which

overturned the Ninth Circuit’s “possibility of irreparable harm” standard—“should be read to

abandon the sliding-scale analysis in favor of a ‘more demanding burden’ requiring Plaintiffs to

independently demonstrate both a likelihood of success on the merits and irreparable harm.”

Bartko v. Dep’t of Just., Civ. A. No. 13-1135 (JEB), 2015 WL 13673371, at *1 (D.D.C. Mar. 12,

2015) (citing Sherley v. Sebelius, 644 F.3d 388, 392-93 (D.C. Cir. 2011), and Davis, 571 F.3d

at 1292); see also Changji Esquel, 40 F.4th at 726.

        Even before Winter, courts in this Circuit consistently stressed that “a movant must

demonstrate ‘at least some injury’ for a preliminary injunction to issue.” Chaplaincy of Full




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Gospel Churches, 454 F.3d at 297 (quoting CityFed Fin. Corp. v. Off. of Thrift Supervision,

58 F.3d 738, 747 (D.C. Cir. 1995)). Thus, “if a party makes no showing of irreparable injury, the

court may deny the motion without considering the other factors.” Henke v. Dep’t of Interior, 842

F. Supp. 2d 54, 59 (D.D.C. 2012) (quoting CityFed Fin., 58 F.3d at 747); see also Chaplaincy of

Full Gospel Churches, 454 F.3d at 297 (“A movant’s failure to show any irreparable harm is . . .

grounds for refusing to issue a preliminary injunction, even if the other three factors entering the

calculus merit such relief.”).

                                           ARGUMENT

       This Court should not reach Plaintiffs’ motion for preliminary injunctive relief because the

Court lacks jurisdiction over this suit. If the Court does consider Plaintiffs’ motion, it should deny

it on the grounds that Plaintiffs have not demonstrated that they are likely to suffer irreparable

harm in the absence of preliminary relief. The alleged harm to Ardelyx is purely economic, and

there are no claims that the asserted harm threatens the existence of the company’s business,

meaning that it therefore is not irreparable. Such harm is also self-inflicted; the company chose

not to apply for the Transitional Drug Add-on Payment Adjustment for XPHOZAH. Plaintiffs

offer a laundry list of other alleged harms, including harms to the health of patients represented by

Plaintiff American Association of Kidney Patients, and financial harms to dialysis facilities. None

of these alleged harms meets the exacting standard for imminent irreparable harm necessary to

support preliminary injunctive relief. The alleged harms to patient health are speculative and either

arise because of hypothetical acts by third parties or are the direct result of Ardelyx’s own decision

not to participate in the Transitional Drug Add-on Payment Adjustment.

       This Court should also deny the preliminary injunction motion because Plaintiffs are

unlikely to succeed on the merits. Their recitation of the statutory and regulatory history of the




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relevant provisions omits critical information, including a congressional approval of one of the

regulations they seek to challenge. CMS’s decade-old regulations do not, in any event, conflict

with the governing statute. Finally, neither the balance of equities nor the public interest favors

Plaintiffs.

I.      This Court Should Grant Defendants’ Motion to Dismiss, Which Would Render
        Plaintiffs’ Preliminary Injunction Motion Moot.

        Defendants responded to Plaintiffs’ complaint by filing a motion to dismiss for lack of

subject matter jurisdiction. “At the outset, in evaluating plaintiffs’ likelihood of success on the

merits, the Court must first determine that it may properly exercise jurisdiction over the action.”

Shelley v. Am. Postal Workers Union, 775 F. Supp. 2d 197, 203 (D.D.C. 2011); see also

Rozenkrantz v. Inter-Am. Dev. Bank, Civ. A. No. 20-3670 (BAH), 2021 WL 1254367, at *7

(D.D.C. Apr. 5, 2021) (Defendant’s “Motion to Dismiss under Rule 12(b)(1) therefore must be

decided before plaintiffs’ Motion for Preliminary Injunction may be considered”). As explained

in Defendants’ Motion to Dismiss, which is incorporated herein by reference, Congress

specifically precluded “administrative and judicial review” of the agency action Plaintiffs seek to

challenge: the identification of XPHOZAH as a renal dialysis service included in the End-Stage

Renal Disease Prospective Payment System bundled payment. See generally Mot. Dismiss (ECF

No. 11). This Court thus should grant Defendants’ Motion to Dismiss and then deny as moot

Plaintiffs’ Motion for Preliminary Injunction.2




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        Defendants anticipate filing a reply in support of their Motion to Dismiss after Plaintiffs’
file their forthcoming opposition, in which Defendants will respond to Plaintiffs’ specific
arguments. At bottom, as Plaintiffs acknowledge repeatedly in their Complaint, this case amounts
to a challenge to CMS’s identification of XPHOZAH as a renal dialysis service included in the
payment bundle—a challenge that is squarely foreclosed by the jurisdictional preclusion provision.
Plaintiffs’ belated effort to refashion their case as a challenge to a regulation does not resolve this
fundamental defect in their pleading.


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II.    Plaintiffs Preliminary Injunction Motion Should Be Denied Because They Do Not
       Allege Imminent, Irreparable Harm.

       A preliminary injunction movant must demonstrate that it is “likely to suffer irreparable

harm in the absence of preliminary relief.” Abdullah v. Obama, 753 F.3d 193, 197 (D.C. Cir.

2014). “[F]ailure to show any irreparable harm is therefore grounds for refusing to issue a

preliminary injunction, even if the other three factors entering the calculus merit such relief.”

Chaplaincy of Full Gospel Churches, 454 F.3d at 297; see E.B. v. Dep’t of State, 422 F. Supp. 3d

81, 88 (D.D.C. 2019) (“Failing to show a likelihood of irreparable harm is fatal to a request for a

preliminary injunction[.]”); Uranga v. Citizenship & Immigr. Servs., Civ. A. No. 20-0521 (ABJ),

2020 WL 7230675, at *5 (D.D.C. Dec. 8, 2020) (regardless whether the sliding scale framework

applies, “it remains the law in this Circuit that a movant must demonstrate irreparable harm”).

       Showing irreparable injury is a “considerable burden, requiring proof that the movant’s

injury is certain, great and actual—not theoretical—and imminent, creating a clear and present

need for extraordinary equitable relief to prevent harm.” Power Mobility Coal. v. Leavitt, 404 F.

Supp. 2d 190, 204 (D.D.C. 2005) (quoting Wis. Gas Co. v. FERC, 758 F.2d 669, 674) (D.C. Cir.

1985)) (internal quotation marks omitted).         Additionally, “the injury must be beyond

remediation.” Chaplaincy of Full Gospel Churches, 454 F.3d at 297.

       Plaintiffs put forth (PI Mot. (ECF No. 14) at 37-43) various harms—to Ardelyx itself, to

other drug manufacturers who might be deterred from developing innovative drugs, and to

patients—that allegedly satisfy their “considerable burden” to demonstrate irreparable injury.

None does. The alleged harm to Ardelyx itself is purely economic and thus not irreparable for

purposes of obtaining a preliminary injunction, and Ardelyx’s decision not to apply to include

XPHOZAH in the Transitional Drug Add-on Payment Adjustment is a significant contributor to

any economic harm it may experience.           The abstract and hypothetical harms to other



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manufacturers are similarly insufficient for a preliminary injunction, even if any Plaintiff had

standing to raise them—and they do not. And the threatened hams to patients are rooted in an

unstated assumption that End-Stage Renal Disease facilities will refuse to provide drugs included

in a patient’s plan of care, in violation of CMS regulations. In addition, Ardelyx’s decision not

to seek XPHOZAH’s inclusion in the Transitional Drug Add-on Payment Adjustment has

deprived the End-Stage Renal Disease facilities treating the very patients whose interests

Plaintiffs seek to represent of two years of enhanced payments for the drug (and a further three-

year post-transitional adjustment). According to Plaintiffs’ own briefing, the price adjustment

would increase the drug’s availability and thus mitigate or eliminate harm to patients from lack

of access. Because Plaintiffs cannot show imminent irreparable harm, preliminary injunctive

relief is inappropriate.

        A.      Any Harm to Ardelyx Is Purely Economic and, Thus, Not Irreparable, and
                Ardelyx Has Not Quantified the Alleged Harm.

        Ardelyx claims that the inclusion of XPHOZAH in the End-Stage Renal Disease

Prospective Payment System bundle will cause a “loss of market share, and related unrecoverable

economic harm, [which] constitutes irreparable harm to Ardelyx.” PI Mot. (ECF No. 14) at 43.

Even assuming that placing XPHOZAH in the bundle would cause a loss of market share and

economic harm to Ardelyx, “[t]he loss of business opportunities, market share, and customer

goodwill are typically considered to be economic harms.” Air Transp. Ass’n of Am., Inc. v. Exp.-

Imp. Bank of the U.S., 840 F. Supp. 2d 327, 335 (D.D.C. 2012). And it is “well settled” that

economic harm “does not, in and of itself, constitute irreparable harm.” Wis. Gas, 758 F.2d at

674; see also Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 212 (D.D.C. 2012) (plaintiff’s

claims of “lost customers, reduced sales” to other distributors were not irreparable harms).




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         Courts hold that “[r]ecoverable monetary loss may constitute irreparable harm only where

the loss threatens the very existence of the movant’s business.” Wis. Gas, 758 F.2d at 674.

Plaintiffs have not shown or even alleged that Ardelyx would suffer such a loss. And to the extent

(see PI Mot. (ECF No. 14) at 43) that Ardelyx argues that the economic losses would be

“unrecoverable” because it may not recoup economic losses from the Government, courts in this

District hold that the “economic harm [must] be significant, even where it is irretrievable[.]” Air

Transp. Ass’n, 840 F. Supp. 2d at 336; Alcresta Therapeutics, Inc. v. Azar, 318 F. Supp. 3d 321,

326-27 (D.D.C. 2018) (noting “the vast majority of district court opinions in this Circuit have

rejected the rule that unrecoverable monetary losses constitute per se irreparable harm”). The

movant must still make “a strong showing that the economic loss would significantly damage its

business, . . . would cause extreme hardship to the business, or even threaten destruction of the

business.” Air Transp. Ass’n, 840 F. Supp. 2d at 336 (citations omitted). Ardelyx has not done

this.

         Further, Plaintiffs have provided no information that would allow the Court to quantify

the harm to Ardelyx’s overall businesses or operations in any sense. This is fatal to Plaintiffs’

attempt to meet their burden. See, e.g., Asante v. Azar, Civ. A. No. 20-0601 (TSC), 2020 WL

1930263, at 4 (D.D.C. Apr. 21, 2020) (ruling no irreparable harm where hospitals “provide[d] no

specific facts . . . about the effects” of not receiving $15 million in government funds); Save Jobs

USA v. Dep’t of Homeland Sec., 105 F. Supp. 3d 108, 115 (D.D.C. 2015) (finding no irreparable

injury where plaintiff “made no effort to quantify” the extent of its damages from rule change,

leaving the court “to speculate as to the magnitude of the injury”); Air Transp. Ass’n, 840 F.

Supp. 2d at 336 (ruling plaintiff “must ‘adequately describe and quantify the level of harm it[]

. . . face[s]”); Am. Ass’n for Homecare v. Leavitt, Civ. A. No. 08-0992, 2008 WL 2580217, at *5




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(D.D.C. June 30, 2008) (claimed future losses were insufficient because plaintiffs “submitted no

evidence as to the magnitude or likelihood of those speculative losses”); Am. Ass’n of Pol.

Consultants v. Small Bus. Admin., 613 F. Supp. 3d 360, 370 (D.D.C. 2020) (“The Court has no

way of measuring whether these hardships are imminent and irreparable without access to more

detailed financial documentation.”); ConverDyn v. Moniz, 68 F. Supp. 3d 34, 48 (D.D.C. 2014)

(“A claim of substantial financial losses must be evaluated from the perspective of the

organization’s total revenues in order to determine if the harm is of a magnitude that warrants

injunctive relief.”).

        The three cases cited by Plaintiffs (PI Mot. (ECF No. 14) at 43) illustrate the inadequacy

of Plaintiffs’ showing here. In Luokung Technology Corp. v. Department of Defense, 538 F.

Supp. 3d 174, 193-94 (D.D.C. 2021), the company seeking a preliminary injunction faced

“irreparable reputational harm” as well as “deprivation of access to U.S. capital markets,” “the

complete loss of any public market for its securities,” and “loss of talent and the inability to

recruit and retain employees to build—or even maintain—a plaintiff’s business.” Id. (internal

quotation marks omitted). Plaintiffs here do not suggest any analogous harms will befall Ardelyx

as a result of the addition of XPHOZAH to the End-Stage Renal Disease Prospective Payment

System bundle. The movant in Luokong described losses that had already occurred and quantified

the lost revenue arising therefrom as “more than $10 million.” Id. at 192. As described above,

Ardelyx has made no effort to quantify its future losses. Plaintiffs would have this Court hold

that the only factor in common between Luokong and Ardelyx—an alleged likely loss of market

share—is sufficient to support preliminary injunctive relief. See PI Mot. (ECF No. 14) at 43. But

Luokong is a categorically different case, featuring numerous factors absent here.




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       Bayer HealthCare, LLC v. FDA, 942 F. Supp. 2d 17 (D.D.C. 2013), is similarly unhelpful

to Plaintiffs. In that case, the movant included a declaration “explain[ing] specifically how Bayer

will experience a decline in market share, price erosion, loss of customer good will, and loss of

research and development funding as a result of” the action it sought to enjoin. Id. at 26. As

explained above, Ardelyx has offered nothing analogous. The sole citation in support of

Ardelyx’s claim for irreparable injury is a single paragraph of the Declaration of Laura Williams,

which reads in full: “Placement of XPHOZAH in the bundle would significantly interfere with

access to XPHOZAH for patients who are in need, namely those who have not had an adequate

response to phosphate binders or who simply cannot tolerate them. At a minimum it is likely to

discourage uptake of XPHOZAH in favor of older, less effective therapies.” Williams Decl.

(ECF No. 14-3) ¶ 77; see PI Mot. (ECF No. 14) at 43. This is not remotely similar to what the

Bayer court found sufficient to support a finding of irreparable harm.

       Finally, in Feinerman v. Bernardi, 558 F. Supp. 2d 36, 50-51 (D.D.C. 2008), the Court

applied an approach to the four-factor test for preliminary relief that has fallen out of favor in the

D.C. Circuit.     The Court held that while the movant’s statements “hardly present an

overwhelming case for a finding of irreparable injury, they do suggest that he is likely to suffer

at least some degree of irreparable injury absent preliminary injunctive relief, which may be

sufficient to warrant injunctive relief depending on the degree to which the other factors

considered in assessing a plaintiff’s motion for a preliminary injunction favor the plaintiff.” Id.

at 51. The Feinerman Court also relied on the conclusion that “any loss of income suffered by a

plaintiff is irreparable per se” where sovereign immunity bars recovery of damages from the

government. Id. But “the vast majority of district court opinions in this Circuit have rejected the

rule that unrecoverable monetary losses constitute per se irreparable harm.”                 Alcresta




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Therapeutics, Inc. v. Azar, 318 F. Supp. 3d 321, 326-27 (D.D.C. 2018). And even if this Court

were to apply the outdated Feinerman framework, the movant in that case submitted a declaration

stating that forty percent of his business would be threatened absent an injunction. Id. at 50.

Plaintiffs here have made no similar effort to quantify their allegedly irreparable economic losses,

a shortcoming that is fatal to their request for preliminary injunctive relief. See Am. Ass’n for

Homecare v. Leavitt, Civ. A. No. 08-0992, 2008 WL 2580217, at *5 (D.D.C. June 30, 2008).

   B.       Ardelyx Cannot Obtain an Injunction Against Harms That It Has Inflicted on
            Itself by Refusing to Apply for Inclusion in the Transitional Drug Add-On
            Payment Adjustment

         Separate from their failure to demonstrate an irreparable economic injury, Plaintiffs’

motion for preliminary injunctive relief should be denied because the alleged imminent economic

harm they ask this Court to redress is, in substantial part, self-inflicted. Ardelyx could have, but

did not, seek to have the Medicare program make an add-on payment adjustment to End-Stage

Renal Disease facilities when they use XPHOZAH to treat patients. “Not surprisingly, a party

may not satisfy the irreparable harm requirement if the harm complained of is self-inflicted.”

Wright & Miller, Fed. Practice & Proc., § 2948.1. “It is ‘well-settled that a preliminary injunction

movant does not satisfy the irreparable harm criterion when the alleged harm is self-inflicted.’”

Safari Club Int’l v. Salazar, 852 F. Supp. 2d 102, 123 (D.D.C. 2012) (quoting Lee v. Christian

Coal. of Am., Inc., 160 F. Supp. 2d 14, 33 (D.D.C. 2001). “Plaintiffs who decline the opportunity

to avail themselves of a regulatory scheme to avoid the very harm for which they seek injunctive

relief have been denied the relief.” Id. The relief afforded by the declined regulatory scheme

does not necessarily have to be complete or permanent to undermine a plaintiff’s claim for

preliminary injunctive relief. See id. at 124 (“This kind of market harm . . . is just not sufficient

to warrant preliminary injunctive relief, especially where . . . ranchers had the opportunity to seek




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permits to alleviate at least temporarily some of the forces of the market that were outside of their

control.”).

        The Transitional Drug Add-on Payment Adjustment is a regulatory scheme that provides

an increased payment to End-Stage Renal Disease facilities using a “new renal drug or biological

product . . . based on 100 percent of average sales price.” 42 C.F.R. § 413.234(c). Notably, the

only thing preventing End-Stage Renal Disease facilities from receiving an add-on payment when

they use XPHOZAH to treat dialysis patients is Ardelyx’s affirmative refusal to apply to include

XPHOZAH in the payment adjustment. Drugs are included in the Transitional Drug Add-on

Payment based on a series of objective criteria: the date of FDA approval, the drug being

commercially available, the date of submission for a Health Care Procedure Code, and the new

drug application category determined prior to FDA approval. See 42 C.F.R. §§ 413.234(a) & (e).

The payment adjustment is available for two years, after which a further three years of post-

transitional drug add-on payment adjustments are available. Id. at §§ 413.234(c)(1)-(3) & (g).

The payment adjustment is meant to mitigate challenges to End-Stage Renal Disease facilities

caused by the possibility that new drugs can be “unpredictable with regard to their uptake and

pricing” and to allow “practitioners . . . to evaluate the appropriate use of a new product and its

effect on patient outcomes.” 84 Fed. Reg. at 60,654.

        Plaintiffs themselves acknowledge that the Transitional Drug Add-on Payment

Adjustment improves the uptake of new drugs. See PI Mot. (ECF No. 14) at 40 (discussing

Parsabiv utilization during Transitional Drug Add-on Payment Adjustment period).               They

complain that after the payment adjustment ends, utilization may decrease. See id. But an

economic harm that may arise in twenty-seven months is hardly imminent. Further, Plaintiffs do

not address at all the additional three-year period that would be available for XPHOZAH under




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42 C.F.R. §§ 413.234(c)(3), (g). Despite the opportunity to participate in a regulatory scheme

that would “alleviate at least temporarily some of the forces of the market,” Safari Club, 852 F.

Supp. 2d at 124, Ardelyx has announced that it will not submit data for XPHOZAH’s inclusion

in the Transitional Drug Add-on Payment Adjustment. See Ardelyx Form 8-K Dated July 2,

2024. Ardelyx is declining to participate in a program explicitly designed to encourage End-

Stage Renal Disease facilities to buy its product and deliver it to patients. Although the company

has stated publicly that it has decided “not to file for TDAPA,” see Ardelyx July 2, 2024 Press

Release, available at https://ir.ardelyx.com/news-releases/news-release-details/preserve-patient-

access-xphozahr-ardelyx-chooses-not-file-tdapa, Ardelyx does not acknowledge its non-

participation in its Complaint or in its Motion for a Preliminary Injunction. At a bare minimum,

Ardelyx has caused any alleged economic harms to happen sooner than they would have

otherwise. Preliminary injunctive relief based on alleged harm to Ardelyx is thus inappropriate.

   C.       The Risk of Patient Harm Described by Plaintiffs Is Unsupported and
            Attributable Not to XPHOZAH’s Inclusion in the End-Stage Renal Disease
            Prospective Payment System Bundle.

         Plaintiffs predict that XPHOZAH’s inclusion in the End-Stage Renal Disease Prospective

Payment System bundle “will diminish [End-Stage Renal Disease] patients’ access to essential

therapies and precipitate worse health outcomes.” PI Mot. (ECF No. 14) at 37. Harm to a person’s

health can constitute irreparable injury for the purposes of obtaining preliminary injunctive relief.

See Wilson v. Grp. Hosp. & Med. Servs., Inc., 791 F. Supp. 309, 313-14 (D.D.C. 1992). But

Plaintiffs must prove “that the movant’s injury is certain, great and actual—not theoretical—and

imminent, creating a clear and present need for extraordinary equitable relief to prevent harm.”

Power Mobility Coal. v. Leavitt, 404 F. Supp. 2d 190, 204 (D.D.C. 2005) (cleaned up; quoting




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Wis. Gas Co. v. FERC, 758 F.2d 669, 674) (D.C. Cir. 1985)). Plaintiffs3 have not satisfied their

considerable burden.

       Here, the alleged patient injuries are highly speculative. For example, Plaintiffs say that

“dialysis providers are penalized financially for treating patients using novel drugs for which they

are not fully reimbursed.” PI Mot. (ECF No. 14) at 38. In support, they cite a paragraph from the

declaration of Ardelyx’s Chief Medical Officer that reads, in full, “[t]he limited long-term

reimbursement provided by CMS for novel drugs, paired with CMS’s failure to adequately fund

the End-Stage Renal Disease Prospective Payment System bundled system, significantly

discourages dialysis providers from adopting or facilitating the uptake of novel treatments.”

Williams Decl. (ECF No. 14-3) ¶ 74. Conspicuously absent here is any statement from an End-

Stage Renal Disease facility even implying it might be deterred from providing XPHOZAH to a

patient to whom it has been prescribed, or a statement from a patient who has been informed that

his or her End-Stage Renal Disease facility plans to refuse to honor his or her XPHOZAH

prescription beginning January 1, 2025. Plaintiffs’ speculative pleading falls well short of the

detailed allegations found in the cases they cite where preliminary relief was granted. See, e.g.,

Wilson, 791 F. Supp. at 313-14 (plaintiff hospitalized with cancer that her insurer was refusing to

pay to treat); Ass’n of Cmty. Cancer Ctrs. v. Azar, 509 F. Supp. 3d 482, 502 (D. Md. 2020) (detailed

affidavits describing patient harms, including potential loss of treatment altogether). The third that

Plaintiffs cite, Texas Children’s Hospital v. Burwell, 76 F. Supp. 3d 224 (D.D.C. 2014), is

inapposite. In describing “certain” and “imminent” harms to the plaintiff hospitals, the court noted



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       Only Plaintiff the American Association of Kidney Patients purports to represent patients.
The American Association of Kidney Patients describes itself as “the oldest and largest fully
independent kidney patient organization in the United States.” Compl. (ECF No. 1)¶ 47. The
declaration of its Executive Director states that it “represents the largest base of both patient and
care partner consumers in the kidney space.” Clynes Decl. (ECF No. 14-1) ¶ 3.


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that “Plaintiffs, moreover, are not for-profit entities facing the loss of profit; rather, they are non-

profits for whom lost funds would mean reducing hospital services to children, many of whom are

Medicaid-eligible.” Id. at 243. Apart from the above-described failure by Ardelyx to describe any

certain or imminent harm, none of the Plaintiffs here claims to be a non-profit whose ability to

provide services to patients will be affected by the inclusion of XPHOZAH in the bundle.

       Plaintiffs acknowledge that the addition of XPHOZAH into the bundle is not the proximate

cause of the harm they fear. They rely on what they speculate End-Stage Renal Disease facilities

will do. “Absent court action before January 1, 2025, CMS’s plan to cease payment under

Medicare Part D for oral-only drugs, and instead incorporate reimbursement for oral-only drugs

into its bundled payment, will result in the development of protocols by the dialysis organizations

severely restricting access to oral-only drugs—particularly novel ones—to the immediate

detriment of patients.” PI Mot. (ECF No. 14) at 39. As an initial matter, Plaintiffs offer no

evidence that such protocols exist or that they are under development. And even if an End-Stage

Renal Disease facility were to impose such protocols, notwithstanding its obligation under the

End-Stage Renal Disease Conditions for Coverage to “[p]rovide the necessary care to manage

mineral metabolism and prevent or treat renal bone disease,” 42 C.F.R. § 494.90(a)(3), including

adjustment of “the patient’s plan of care to achieve the specified goals,” id. § 494.90(b)(3), an

injury to a patient denied access to XPHOZAH pursuant to those hypothetical protocols would be

caused not by CMS but by the End-Stage Renal Disease facility.

       Finally, and as discussed supra, 20-22, Ardelyx’s decision to forgo participation in the

Transitional Drug Add-on Payment Adjustment available for XPHOZAH will—according to

Plaintiffs’ own brief—contribute to reduced utilization of XPHOZAH in the short term (i.e., the

period relevant to any imminent irreparable harm analysis). Plaintiffs readily acknowledge higher




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uptake of the intravenous calcimimetic Parsabiv during the period when it was eligible for add-on

payment adjustments. PI Mot. (ECF No. 14) at 40. And they offer no evidence that XPHOZAH

would be any different; indeed, unlike Parsabiv, XPHOZAH would be eligible for the post-

transitional payment adjustment for an additional three years. The status quo that Ardelyx asks

the Court to preserve by injunction has resulted in part from choices made by Ardelyx itself. Had

Ardelyx applied to include XPHOZAH in the payment adjustment, End-Stage Renal Disease

facilities would receive additional payment for using XPHOZAH in their treatment of patients.

          Therefore, this Court should conclude that Plaintiffs have failed to carry their burden of

establishing irreparable harm to patients sufficient to support preliminary injunctive relief.

Ardelyx cannot show that its economic harms are sufficiently imminent to justify relief, and its

failure to quantify the expected harm is fatal to its claims. The alleged harms to patients are

similarly speculative, rely on Plaintiffs’ conjecture about the actions of third parties not before this

Court, and are in significant part the result of Ardelyx’s own decision not to participate in the

Transitional Drug Add-on Payment Adjustment.

    D.       To The Extent That Plaintiffs Rely on Alleged Harms to Other Manufacturers
             or End-Stage Renal Disease Facilities or On Diminished Incentives For
             Innovation Generally, Those Alleged Harms Are Not Cognizable.

          Plaintiffs catalogue several other ills allegedly arising from CMS’s regulation including

oral-only drugs in the End-Stage Renal Disease bundle. For example, they cite increased

financial burdens on End-Stage Renal Disease facilities with low margins, PI Mot. (ECF No. 14)

at 38, and disincentives for manufacturers generally to develop innovative therapies, PI Mot.

(ECF No. 14) at 41. They point in particular to another manufacturer that terminated a clinical

program for a different drug. None of these alleged harms are cognizable. No Plaintiff purports

to be or to represent an End-Stage Renal Disease facility, and a plaintiff cannot assert harms on




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behalf of third parties to obtain a preliminary injunction. “[I]njuries to third parties are not a basis

to find irreparable harm.” Alcresta Therapeutics, 318 F. Supp. 3d at 326. For similar reasons,

Plaintiffs’ arguments regarding disincentives for research do not support a finding of irreparable

harm. No plaintiff alleges that it has abandoned development of any new drug as a result of

CMS’s inclusion of XPHOZAH in the End-Stage Renal Disease bundle. Even if Plaintiffs had

pled such a claim, they have offered nothing other than conjecture, rendering any alleged harm

vague and hypothetical.        Plaintiffs’ inchoate allegations about alleged disincentives for

innovation and harms to other actors with an interest in Medicare coverage of renal dialysis

services are no basis for a finding of imminent irreparable harm. And because Plaintiffs’ other

allegations—with respect to economic harm to Ardelyx and harm to patients generally—fall well

short of the required threshold, this Court should deny preliminary injunctive relief on that basis

alone.

III.      Plaintiffs Are Unlikely to Succeed on the Merits of Their Claims

          Even if this Court finds that it has jurisdiction and that Plaintiffs have met their

“considerable burden” to show irreparable harm, it should deny preliminary injunctive relief

because Plaintiffs are unlikely to succeed on the merits. The statute at issue, 42 U.S.C.

§ 1395rr(b)(14)(B), defines “renal dialysis services” to include four categories of items and

services and to exclude vaccines. In a final rule that appeared in the Federal Register in 2010,

the agency concluded that the term “renal dialysis services” could include oral-only drugs, but it

delayed implementation of that policy until January 1, 2014. Congress then passed three separate

statutes acknowledging the agency’s oral-only drug policy and delaying its implementation until

January 1, 2025.

          Plaintiffs ignore Congress’s acknowledgement and approval of the agency’s regulation

defining “renal dialysis services” to include oral-only drugs. This alone is reason enough for


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this Court to conclude that Plaintiffs are unlikely to succeed on the merits. On top of that,

Plaintiffs are wrong to interpret the statute as excluding oral-only drugs from the End-Stage

Renal Disease bundle, both because the statute contains a specific exclusion (for vaccines) and

because the broad language of the statute does not bar oral-only drugs from the bundle. Finally,

CMS has not violated its own regulations in including XPHOZAH in the bundle.

       A.      Congress Acknowledged and Approved the Regulation That Plaintiffs
               Challenge.

       Plaintiffs say (PI Mot. (ECF No. 14) at 20-30) that Congress excluded oral-only drugs

from the End-Stage Renal Disease bundle. But their description of congressional action is

incomplete and ignores congressional text acknowledging and approving the CMS regulation

including oral-only drugs. CMS’s first final rule implementing the Medicare Improvement Act

was published on August 12, 2010, and became effective January 1, 2011, although the agency

delayed the effective date of its oral-only drug policy until January 1, 2014. See 75 Fed. Reg.

at 49,030 (January 1, 2011, effective date), 49,044, 49,049, 49,198–99 (delay in effective date

of oral-only drug policy). On January 2, 2013, the President signed the American Taxpayer

Relief Act, which includes a section called “Revisions to the Medicare [End-Stage Renal

Disease] Bundled Payment System to Reflect Findings in the GAO Report.” Pub. L. 112-240,

§ 632, 126 Stat. 2354. That provision repeatedly references the Secretary’s final rule. First, it

instructs the Secretary to “make reductions” to the bundled payment “to reflect the Secretary’s

estimate of the change in utilization of drugs and biologicals described in clauses (ii), (iii), and

(iv) of subparagraph (B) (other than oral-only ESRD-related drugs, as such term is used in the

final rule promulgated by the Secretary in the Federal Register on August 12, 2010 (75 Fed. Reg.

49030)).” Id. Second, it delays until 2016 implementation of the “policy under section

413.174(f)(6) . . . relating to oral-only [End-Stage Renal Disease]-related drugs in the [End-Stage



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Renal Disease] prospective payment system.” Id. Third, it instructs the Secretary “to monitor

the bone and mineral metabolism of individuals with end stage renal disease” as part of the

“implementation of oral-only [End-Stage Renal Disease]-related drugs in the [End-Stage Renal

Disease] prospective payment system.” Id.

       Fewer than three years after the agency published its oral-only drugs regulation in the

Federal Register, Congress recognized that inclusion and passed a new statute contemplating

that the policy would be implemented in the future. “Congress’ explicit recognition of the

Secretary’s regulations is entitled to some weight in determining whether that regulation is at

least a reasonable interpretation of the statute.” Women Involved in Farm Econ. v. Dep’t of

Agric., 876 F.2d 994, 1003 (D.C. Cir. 1989). The text of the American Taxpayer Relief Act

evinces congressional approval of the agency’s policy “relating to oral-only [End-Stage Renal

Disease]-related drugs.” 126 Stat. 2354. It would be incoherent for Congress to instruct the

Secretary to monitor individuals’ bone and mineral metabolism as part of the implementation of

a policy relating to oral-only drugs if Congress believed that the “implementation of oral-only

[End-Stage Renal Disease] related drugs” in that category in the bundle were an unlawful

expansion of the authority it delegated to the agency.

       Plaintiffs argue (PI Mot. (ECF No. 14) at 32), that CMS’s use of the term “End-Stage

Renal Disease-related” in its Federal Register notice exceeds its statutory authority.       But

Congress itself repeatedly used that term with approval two years later, referring—with a Federal

Register citation—to the very rule that Plaintiffs oppose. Had Congress disagreed with the

agency’s use of the phrase “End-Stage Renal Disease-related” or with its policy decision to

include oral-only drugs in the bundle, it would not have enacted section 632 of the American

Taxpayer Relief Act in the form that it did. Congress delayed implementation of the oral-only




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drug policy but contemplated it would be implemented in the future. A congressionally imposed

delay is not a disapproval, and the fact that Congress acknowledged precisely the policy at issue

and instructed the agency to delay its implementation of that policy while monitoring an aspect

of that policy’s implementation is evidence that Congress approved the agency’s interpretation

of the statute.

        A later Congress twice enacted further delays to what it called in the statute the “oral-

only policy.” Protecting Access to Medicare Act, Pub. L. 113-93, § 217, 128 Stat. 1061; Tax

Increase Prevention Amendments, Pub. L. 113-295, § 204, 128 Stat. 4065. These enactments

show that Congress remained aware of CMS’s oral-only drug policy and instructed the Secretary

to delay its implementation to January 1, 2025. Had Congress disapproved of the policy, it

presumably would have instead instructed the Secretary not to implement it at all.

        Plaintiffs direct this court to proposed legislation that was never enacted that, they argue,

“underscores that CMS’s contrary construction is inconsistent with” the statutory language. PI

Mot. (ECF No. 14) at 25-26 (citing H.R. 3200, 111th Cong., § 1232 (2009)). “It is at best

treacherous to find in congressional silence alone the adoption of a controlling rule of law.”

Girouard v. United States, 328 U.S. 61, 69 (1946); accord. AFL-CIO v. Brock, 835 F.2d 912,

915 (D.C. Cir. 1987). The treacherousness is magnified here, when the unenacted legislative

language Plaintiffs cite is found in a bill as sweeping in scope and as lengthy as H.R. 3200, which

is captioned “A bill to provide affordable, quality health care for all Americans and reduce the

growth in health care spending, and for other purposes.” H.R. 3200, 111th Cong (2009).

Plaintiffs offer no evidence that Congress failed to enact that bill over concerns about its

modification of the scope of items and services included in the End-Stage Renal Disease

Prospective Payment System Bundle, and such an inference is unwarranted. Indeed, there is




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evidence of congressional intent to include oral-only drugs in the bundle via the Medicare

Improvement Act itself. See 154 Cong. Rec. H5908 (daily ed. June 24, 2008) (speech of Rep.

Pallone) (“My understanding of the [Medicare Improvement Act] language is that it provides for

inclusion of all oral dialysis-related drugs in the bundle, including calcimimetics and phosphate

binders.”). The fact that Congress specifically identified the Secretary’s regulation, including its

inclusion of oral-only drugs in the bundle, and passed a law that would be incoherent if it meant

for oral-only drugs to be excluded from the bundle, strongly favors that Congress approved the

Secretary’s regulation.

       B.      Plaintiffs’ Argument That the Relevant Statutory Language Includes Only
               What Is Expressly Listed and Excludes Oral-Only Drugs Ignores the Statute.

       Plaintiffs would have this Court apply a crabbed reading of the statute defining “renal

dialysis services.” Because the statute does not specifically include “oral-only drugs,” and

because it mentions “any oral equivalent form of such drug or biological,” Plaintiffs conclude

that Congress excluded oral-only drugs. PI Mot. (ECF No. 14) at 21-25. Plaintiffs are wrong,

both because they ignore key statutory text (“the term renal dialysis services includes” and “such

term does not include,” 42 U.S.C. § 1395rr(b)(14)(B)), and because the key sections themselves

do not prohibit the agency’s inclusion of oral-only drugs in the bundle.

       The statute describing the scope of renal dialysis services states that the term “includes”

four categories. 42 U.S.C. § 1395rr(b)(14)(B); see United States v. Philip Morris USA Inc., 566

F.3d 1095, 1114-15 (D.C. Cir. 2009) (distinguishing between “includes” and “means” to

introduce statutory definitions, and noting that the “non-exhaustive nature of ‘includes’” is

“clear”); see also A. Scalia & B. Garner, Reading Law: The Interpretation of Legal Texts, at 132

(2012) (“The verb to include introduces examples, not an exhaustive list.”). The statute further

contains an explicit exclusion: the term “renal dialysis services . . . does not include vaccines.”



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42 U.S.C. § 1395rr(b)(14)(B); cf. PI Mot. (ECF No. 14) at 27 (quoting Scalia & Garner, supra,

at 107) (“The expression of one thing implies the exclusion of others.”). Congress’s definition

of renal dialysis services begins with a word meaning that the listing that follows is “non-

exhaustive,” and it ends with a single explicit exclusion for “vaccines”—implying that there are

not other exclusions of items and services otherwise falling in the statute’s scope. Plaintiffs

overlook this statutory context, which is critical to understanding the meaning of Congress’s

specific enumeration of what the term renal dialysis services “includes.” Plaintiffs read the

statute as describing the precise scope of the bundle. But that is not how Congress wrote the

law; it said the bundle “includes” four categories of items and services and excludes a fifth

category. Had Congress wanted to limit the scope of the bundle, it might have said “renal dialysis

services” consist of the following things. And had it wanted to exclude oral-only drugs from the

bundle, it might have said “such term does not include vaccines and oral-only drugs.” It did

neither.

       It is with this context in mind that the Court should analyze the relevant subclauses of

Section 1395(b)(14)(B): (iii) and (iv). Subclause (iii) says that included as renal dialysis services

are “other drugs and biologicals that are furnished to individuals for the treatment of end stage

renal disease and for which payment was (before the application of this paragraph) made

separately under this subchapter, and any oral equivalent form of such drug or biological.”

Plaintiffs make two key errors in reading subclause (iii). First, they say that it supports their

position (PI Mot. (ECF No. 14) at 30-33) that a “renal dialysis service” must treat End-Stage

Renal Disease directly. Second, they say that the text of subclause (iii) excludes oral-only drugs.

PI Mot. (ECF No. 14) at 22-26.




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       First, Plaintiffs are wrong to assert that a drug that does not treat End-Stage Renal Disease

directly cannot be a renal dialysis service under the statute. The first part of subclause (iii) says

included in “renal dialysis services” are “other drugs and biologicals that are furnished to

individuals for the treatment of end stage renal disease . . .” 42 U.S.C. § 1395rr(b)(14)(B)(iii).

The word “other” in (b)(14)(B)(iii) refers to the drugs described in the immediately preceding

(b)(14)(b)(ii) and therefore means drugs “other than erythropoiesis stimulating agents.” See id.

§ 1395rr(b)(14)(B)(ii). This, in turn, makes clear that erythropoiesis stimulating agents are an

example of “drugs . . . that are furnished to individuals for the treatment of end stage renal

disease.” But erythropoiesis stimulating agents are drugs approved for the treatment of anemia,

not to directly treat end-stage renal disease.       See FDA, Information on Erythropoiesis-

Stimulating Agents (ESA) Epoetin alfa (marketed as Procrit, Epogen), Darbepoetin alfa

(marketed as Aranesp), available at https://www.fda.gov/drugs/postmarket-drug-safety-

information-patients-and-providers/information-erythropoiesis-stimulating-agents-esa-epoetin-

alfa-marketed-procrit-epogen-darbepoetin; see also, e.g., Aranesp FDA Label, available at

https://www.accessdata.fda.gov/drugsatfda_docs/label/2011/103951orig1s5173_103951orig1s

5258lbl.pdf (Aranesp indicated, among other things, for the treatment of anemia due to chronic

kidney disease). In other words, the “treatment of end stage renal disease,” as Congress uses

that phrase, must include treatment of at least some conditions associated with End-Stage Renal

Disease because the End-Stage Renal Disease bundle must include erythropoiesis-stimulating

agents, which treat anemia but do not treat End-Stage Renal Disease directly. Cf. PI Mot. (ECF

No. 14) at 30-34. Further, Plaintiffs are wrong to say that “other” refers to both subclauses (i)

and (ii). See PI Mot. (ECF No. 14) at 23. Subclause (i) refers to “items and services,” of which

drugs and biologicals are a subset. Erythropoiesis stimulating agents are drugs.




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       As the agency acknowledged, not all drugs treating a comorbidity of End-Stage Renal

Disease are “renal dialysis services.” CMS conducted an extensive analysis of data as part of its

2010 rulemaking to determine which drug functional categories met the statutory definition of

renal dialysis services. See 75 Fed. Reg. at 49,047-50. It determined, consistent with the statute,

that “anemia management” was one example of such a functional category.                 And CMS

determined that there were other functional categories that should be part of the bundle, including

(as relevant here) bone and mineral metabolism. Inclusion of this category of drugs is not

contrary to statute, as Plaintiffs claim. Just as erythropoiesis-stimulating agents must be included

among renal dialysis services, other drugs and biological products treating End-Stage Renal

Disease comorbidities can also be included. Similarly, the statutory exclusion for vaccines

shows that Congress intended that the End-Stage Renal Disease Prospective Payment System

bundle include items and services that do not treat End-Stage Renal Disease directly. There is

no vaccine against End-Stage Renal Disease; that Congress nevertheless specifically excluded

vaccines shows that the bundle includes items and services that do not directly address End-

Stage Renal Disease.

       Plaintiffs also wrongly use subclause (iii) to argue that oral-only drugs cannot be included

in the bundle because, they suggest, it reaches only those oral drugs with a non-oral equivalent.

PI Mot. (ECF No. 14) at 23. The next few words in subclause (iii)—“and for which payment

was (before the application of this paragraph) made separately under this subchapter”—

undermine that argument.         As discussed extensively already, Congress has delayed

implementation of the Secretary’s oral-only drugs policy until January 1, 2025. So “this

paragraph” has not yet been applied to oral-only drugs, and payment for such drugs is—as all

parties agree—“made separately” under Medicare Part D, which is a part of “this subchapter,”




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i.e., Title XVIII of the Social Security Act, more commonly known as the Medicare statute.

Oral-only drugs for the treatment of End-Stage Renal Disease (including at least some conditions

associated with End-Stage Renal Disease) in other words, squarely satisfy the statutory

definition.

       Plaintiffs accuse defendants of rewriting the statute to add the phrase “including drugs

and biologicals with only an oral form.” PI Mot. (ECF No. 14) at 24. But subsection (iii) does

not have any text limiting its applicability to injectable or intravenous drugs. It is Plaintiffs who

are reading the rest of the subclause to exclude drugs and biologicals with only an oral form,

despite the absence of any text justifying such an exclusion. If Congress meant subclause (iii)

to apply only to injectable or intravenous drugs and biologicals and oral drugs with injectable or

intravenous equivalents, it could have said so. Or it could have said, for example, “for which

payment was . . . made separately under Part B of this subchapter,” thereby excluding from the

bundle those drugs eligible for payment under Part D (unless they are the “oral equivalent form”

of a Part B drug).

       Plaintiffs might respond that the final words of subclause (iii), “and any oral equivalent

form of such drug or biological,” should be read to imply that “other drugs and biologicals” must

not be oral-only. See PI Mot. (ECF No. 14) at 23. As discussed above, this argument might

have more force if the list of “renal dialysis services” were not introduced with the non-

exhaustive “includes,” and if there were not an explicit exclusion later in the statute. Even in

isolation, the phrase is properly interpreted to include oral-only drugs. Without it, an oral version

of a drug paid by Medicare in its injectable or intravenous version might arguably be excluded

from the bundle, if the oral version becomes available after “the application of this paragraph.”

And, of course, the statutory phrase is “any oral equivalent form.” That oral-only drugs do not




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themselves have an oral equivalent form does not mean they are excluded from subsection

(iii) entirely, provided (see supra) they otherwise qualify as drugs for the treatment of End-Stage

Renal Disease that were separately paid under Medicare prior to the application of the paragraph

bringing them into the bundle.

       Plaintiffs’ arguments to the contrary miss the mark. For example, they accuse CMS of

disagreeing with Congress as a matter of policy. See PI Mot. (ECF No. 14) at 24. In support,

they cite the preamble to the 2009 proposed rule. See 74 Fed. Reg. 49,922 (Sep. 29, 2009)

(proposed rule). But the final rule is clear that CMS was not motivated by a disagreement with

Congress’s wording of the statute; the agency explained why its rule was consistent with the

statute. See, e.g., 75 Fed. Reg. at 49,038-39 (Congress did not intend “to limit the renal dialysis

services included in the [End-Stage Renal Disease Prospective Payment System] bundle to

services for which only [End-Stage Renal Disease] facilities are currently paid”).

       Plaintiffs also misread subclause (iv). See PI Mot. (ECF No. 14) at 26-30. As Plaintiffs

acknowledge, see PI Mot. (ECF No. 14) at 26, CMS in its rulemaking relied on subclause (iv) in

the alternative for its inclusion of oral-only drugs in the End-Stage Renal Disease payment

bundle. Subclause (iv) pulls into the bundle “diagnostic laboratory tests and other items and

services not described in clause (i) that are furnished to individuals for the treatment of end stage

renal disease.” 42 U.S.C. § 1395rr(b)(14)(B)(iv). Clause (i), in turn, says that the bundle

includes items and services in the composite rate as of the day before the effective date of the

End-Stage Renal Disease Prospective Payment System.             Id. § 1395rr(b)(14)(B)(I).     Some

diagnostic laboratory services were separately billed before that effective date, so it is

unsurprising that Congress would identify them specifically as included in the bundle. See

Medicare Benefit Policy Manual, Ch. 11, § 20.2, available at https://www.cms.gov/regulations-




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and-guidance/guidance/manuals/downloads/bp102c11.pdf.           But it is also unsurprising that

Congress might have wanted to ensure “items and services” that did not exist on December 31,

2010—for example, drugs and biologicals developed after that date—were included in the

bundle once they became available, as long as they are “furnished to individuals for the treatment

of end stage renal disease.” Clause (iv) is thus best understood as ensuring that CMS may include

newly developed items and services in the End-Stage Renal Disease bundle.

       C.      CMS Did Not Violate Its Own Regulations in Identifying XPHOZAH as a
               Renal Dialysis Service Included in the Bundle.

       Plaintiffs’ remaining challenges concern the identification of XPHOZAH specifically as

a renal dialysis service, which they argue is contrary to CMS’s own regulations and violative of

the APA. See PI Mot. (ECF No. 14) at 30 (“XPHOZAH also falls outside the ERD PPS bundle

for two additional reasons”). Plaintiffs are unlikely to succeed on the merits of such claims

primarily because the Court lacks jurisdiction to consider them.                  See 42 U.S.C.

§ 1395rr(b)(14)(G); see generally Mot. Dismiss (ECF No. 11). But Plaintiffs’ arguments in their

motion for preliminary injunction are also meritless.

       Plaintiffs claim that XPHOZAH is not a “renal dialysis service” because it is not used in

a dialysis unit. PI Mot. (ECF No. 14) at 33. But nothing in CMS’s regulations limits “renal

dialysis services” to items or services used in a dialysis unit; indeed, diagnostic laboratory tests

(which are statutorily included in the bundle) can be performed in a lab, not in a dialysis unit.

Plaintiffs cite a portion of a Federal Register notice in which CMS explained how it developed

the original functional categories by analyzing historical claims data from a period when

Medicare paid for End-Stage Renal Disease under the composite rate system and such services

were performed in a dialysis unit. See PI Mot. (ECF No. 14) at 33 (quoting 75 Fed. Reg.

at 49,047). But this preamble describes what CMS did as part of its data analysis; the text does



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not establish a binding rule for the future. Nothing in that Federal Register preamble—and

certainly nothing in the regulation text—implies that, going forward, an item or service must be

furnished or performed in a dialysis unit to qualify as a renal dialysis service.

        Contrary to Plaintiffs’ arguments, CMS is not changing its position (in violation of the

APA) without acknowledging a past position because the alleged prior position is an invention

of Plaintiffs. Cf. PI Mot. (ECF No. 14) at 34. For example, CMS has paid for the oral

calcimimetic Sensipar (cinacalcet) under the End-Stage Renal Disease Prospective Payment

System since January 1, 2018. See CMS Manual System, Transmittal 1999 (January 10, 2018),

available     at    https://www.cms.gov/Regulations-and-Guidance/Guidance/Transmittals/2018

Downloads/R1999OTN.pdf. Much like XPHOZAH, Sensipar is taken with meals. Sensipar

FDA     Label,     available   at   https://www.accessdata.fda.gov/drugsatfda_docs/label/2011/

021688s017lbl.pdf. Plaintiffs cannot demonstrate that CMS has ever required that an item be

used in a dialysis unit to qualify as a renal dialysis service; indeed, there is ample evidence to

the contrary.

        Similarly, CMS has not failed to treat like cases alike, contrary to Plaintiffs’ arguments.

See PI Mot. (ECF No. 14) at 34-35. CMS explained in its 2010 rulemaking how it developed

the End-Stage Renal Disease functional categories, and why drugs in the “bone and mineral

metabolism” functional category are renal dialysis services, while drugs that treat “diabetes,

cardiac conditions, and hypertension,” PI Mot. (ECF No. 14) at 34-35, are not. That Plaintiffs

have declined to engage with CMS’s explanation does not mean that the agency has failed to

provide it.

        Plaintiffs argue that XPHOZAH cannot be a “renal dialysis service” because it is not

“essential for the delivery of maintenance dialysis” as required by 42 C.F.R. § 413.171(5)




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(“Renal dialysis services do not include those services that are not essential for the delivery of

maintenance dialysis.”). Plaintiffs point out that XPHOZAH is not taken contemporaneously

with dialysis, and they note that XPHOZAH is a second-line treatment for patients who do not

respond to or cannot take phosphate binders. PI Mot. (ECF No. 14) at 36. However, CMS has

explained, even before XPHOZAH was approved, that “essential to the delivery of maintenance

dialysis” means “necessary to treat or manage conditions associated with the beneficiary’s [End-

Stage Renal Disease], and thus, help the beneficiary to remain sufficiently healthy to continue

receiving maintenance dialysis.” 83 Fed. Reg. at 56,931. XPHOZAH is prescribed to those on

dialysis to reduce serum phosphorus. Elevated serum phosphorus is a condition that threatens a

person’s health to the extent that they may be unable to continue receiving maintenance dialysis;

indeed, Plaintiffs describe XPHOZAH as a “critically important tool for nephrologists.” PI Mot.

(ECF No. 14) at 36. Hyperphosphatemia can damage bones and increase the risk of heart attack,

stroke, and death. Hyperphosphatemia, Cleveland Clinic, available at https://my.clevelandclinic.

org/health/diseases/24293-hyperphosphatemia.       It is wholly consistent with CMS’s prior

interpretation of its own regulation to deem XPHOZAH “essential for the delivery of

maintenance dialysis.”

       Plaintiffs’ interpretation of the regulation, on the other hand, would exclude items and

services clearly within the ambit of the statute. Much like hyperphosphatemia, anemia is a

common co-morbidity of End-Stage Renal Disease that harms patients’ general health and can

affect a person’s ability to continue receiving maintenance dialysis. Erythropoiesis stimulating

agents, as discussed above, are among the items and service statutorily included in the bundle,

and they can be used to treat anemia secondary to End-Stage Renal Disease. Plaintiffs’ preferred

interpretation of 42 C.F.R. § 413.171(5) would exclude these statutorily included items from the




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bundle. CMS’s interpretation would not because erythropoiesis stimulating agents, much like

XPHOZAH and other phosphate-lowering drugs, can help a patient remain healthy enough to

continue receiving maintenance dialysis.

        Plaintiffs invite this Court to decide whether oral-only drugs generally or XPHOZAH

specifically are renal dialysis services, in direct contravention of Congress’s instruction that there

be no administrative or judicial review of CMS’s identification of renal dialysis services. See

42 U.S.C. § 1395rr(b)(14)(G). This Court does not need to—and should not—address Plaintiffs’

arguments on the merits because, as discussed above and in Defendants’ Motion to Dismiss, the

Court lacks jurisdiction. Even if it concludes otherwise, it should deny preliminary injunctive

relief on the basis that Plaintiffs have not shown the requisite irreparable harm. But if this Court

does reach the statutory issues, it should conclude that Congress has approved the regulations

that Plaintiffs seek to challenge and that the statute, read in its full context, does not exclude oral-

only drugs from the End-Stage Renal Disease Prospective Payment System bundle. In short,

Plaintiffs have not shown a likelihood of success on the merits.

IV.     Neither the Balance of the Equities Nor the Public Interest Favors Plaintiffs

        Plaintiffs have not demonstrated that “the balance of equities tips in their favor,” and that

“an injunction is in the public interest.” Sherley, 644 F.3d at 392. When the government is a party

to the litigation, these two factors merge and “are one and the same, because the government’s

interest is the public interest.” Pursuing Am’s Greatness v. Fed. Election Comm’n, 831 F.3d 500,

511 (D.C. Cir. 2016). Here, the equities and public interest would not be served by enjoining the

inclusion of oral-only drugs, including XPHOZAH, in the End-Stage Renal Disease bundle. This

is particularly true in light of the speculative nature of Plaintiffs’ arguments—they do not know

how End-Stage Renal Disease facilities will respond to the inclusion of oral-only drugs in the




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bundle, and they can only speculate that the facilities will steer patients to less expensive products

(and that less costly products are necessarily less effective).

        Plaintiffs ignore the harms that would be caused by a decision enjoining the oral-only drug

policy. CMS has stated that it “anticipate[s] that the incorporation of oral-only drugs into the [End-

Stage Renal Disease Prospective Payment System] will increase access to these drugs for

beneficiaries,” 89 Fed. Reg. at 55,797, because some beneficiaries who do not have access to oral-

only drugs will gain access once such drugs are included in the End-Stage Renal Disease payment

bundle. Plaintiffs focus on the impact they speculate the inclusion of its product in the bundle will

have on Medicare beneficiaries with End-Stage Renal Disease who are enrolled in Medicare Part

D, but not all Medicare beneficiaries have Part D coverage. There is no dispute that Medicare

beneficiaries without Part D coverage currently have significant difficulty accessing XPHOZAH.

CMS estimates that twenty-one percent of End-Stage Renal Disease beneficiaries covered under

fee for service Medicare lack coverage under Medicare Part D. Id. at 55,671. For these

beneficiaries, XPHOZAH’s incorporation into the bundle will provide them access to a drug that

was, in many cases, previously unobtainable. There is no doubt that increased access to beneficial

drugs is in the public interest.

        Plaintiffs’ remaining arguments that an injunction is in the public interest largely bootstrap

on their claims about the merits. There is no doubt a public interest in having agencies that follow

the law, PI Mot. (ECF No. 14) at 44, but if—as Defendants have shown—Plaintiffs have failed to

demonstrate a likelihood of success on the merits, they have similarly failed to demonstrate that

CMS’s inclusion of XPOAZAH is contrary to law.                    Plaintiffs’ reliance on Collagenex

Pharmaceuticals, Inc. v. Thompson, Civ. A. No. 03-1405, 2003 WL 21697344, at *11 (D.D.C.

July 22, 2003), see PI Mot. (ECF No. 14) at 44, is misplaced. They rely on that case to assert a




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public interest in “encouraging the development of innovative drugs,” omitting that the opinion

goes on to say “by ensuring a period of market exclusivity.” Id. Market exclusivity is not at issue

here.

         Even if Plaintiffs had demonstrated the equities favor them, this factor cannot make up for

Plaintiffs’ failure to demonstrate likelihood of success on the merits or irreparable harm. See Mott

Thoroughbred Stables, Inc. v. Rodriguez, 87 F. Supp. 3d 237, 248 (D.D.C. 2015) (concluding that

balance of equities analysis cannot justify preliminary injunction where plaintiff did not

demonstrate a likelihood of success on the merits). Plaintiffs’ requested injunction would disrupt

a policy that participants in delivering treatment for End-Stage Renal Disease—including End-

Stage Renal Disease facilities and other drug manufacturers—have been preparing to implement

for a long time.

V.       This Court Should Not Grant Expedited Summary Judgment

         Even if this Court denies Defendants’ Motion to Dismiss, its decision on that motion will

likely affect the scope of issues to be determined on summary judgment. For that reason,

Defendants urge this Court, if it denies the Motion to Dismiss but determines that Plaintiffs have

not satisfied the factors necessary for entry of a preliminary injunction, to set a new briefing

schedule for summary judgment.



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                                        CONCLUSION

       For the above reasons, this Court should deny Plaintiffs’ motion for a preliminary

injunction or, in the alternative, for expedited summary judgment.

 Dated: October 4, 2024                        Respectfully submitted,
        Washington, DC
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